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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF FLORIDA CLo
MIAMI DIVISION Cc SEn
CASE NO.: 03-CIV-21482-GOLD/SIMONTON / Vy L
ARTHUR SCHIFRIN, Individually, EF

Chroma,

CHROMA GRAPHICS, INC.,

A Tennessee corporation, DEC 2 2 2003
CLARENCE MAbbDaX

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Defendant. at i ai ana

 

CHROMA GRAPHICS, INC.,
A Tennessee corporation,

Counter-claimant,
VS.
Arthur Schifrin, Individually,

Counter-Defendant.

 

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STIPULATION OF DISMISSAL AND fPROPOSED] ORDER
Pursuant to Rules 41(a)(1) and 41(c) of the Federal Rules of Civil Procedure, plaintiff Arthur
Schifrin (“Schifrin”) hereby voluntarily dismisses with prejudice all claims asserted in this action
against defendant Chroma Graphics, Inc. (“Chroma”), and Chroma hereby voluntarily dismisses with

prejudice all counterclaims asserted ayainst Schifrin.
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Each party shall bear their own attorneys’ fees and costs associated with this matter.

Chroma Graphics, Inc.

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Approved as to form and content:

 

 

Lilling & a P.C. Jackson Law Corporation
By: Louw Ld, Year th x fet
Bruce E. Lilling " Harold L. Jackson 7
7-11 South Broadway, Se. 401 14751 Plaza Dr., Ste. N
White Plains, NY 10601 Tustin, CA 92780
Attorney for Plaintiff Attorney for Defendant
ORDER

It is ordered that this action is dismissed with prejudi

Date: (dy / % C $

   

 

U.S. District Court Judge
